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HHD-FA16-6071228-S                              :     SUPERIOR COURT


FRANCELIA SAKON                                 :     JUDICIAL    DISTRICT
                                                      OF HARTFORD

V .                                             :     AT HARTFORD,    CONNECTICUT

JOHN A.   SAKON                                 :     MAY 4,   2023




                            TRANSCRIPT OF           PROCEEDINGS




               BEFORE THE     HONORABLE       ROBERT NASTRI JR.,      JUDGE




APPEARANCES                    :




      Representing the Plaintiff:

          ATTORNEY     DENNIS       0'TOOLE
          53   Benton S t r e e t
          Manchester,      Connecticut 06040


      Representing the Defendant:

          JOHN A. SAKON — Ordering Party
          Self-Represented Party




                                                Recorded and Transcribed By:
                                                Johanna Maldonado-Daniels
                                                Court Recording Monitor Trainee
                                                90 Washington Street
                                                Hartford, Connecticut 06106
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 1                   THE CLERK:      Good morning. We are on the record

 2             on Sakon versus Sakon,            docket number HHD-FA16-

 3             6071228. Counsel, please identify yourself for the

 4             record.


 5                   ATTY. O'TOOLE:         Dennis O'Toole,          representing Ms.

 6             Sevine.


 7                   THE CLERK:      I'm going to ask the parties to

 8             raise your right.

 9              (Francelia Sevine and John A. Sakon were duly sworn

10             in)

11                   MS.   SEVINE:       Yes.


12                   MR.   SAKON:    I    do.


13                   THE CLERK:      Please,       state your name and address

14             on the record. Starting by —

15                   MS.   SEVINE:       Sevine,    Francilia Sevine P.O.         Box

16             1504690530, Hartford,            Connecticut,       06106.

17                   THE COURT:      Thank you.

18                   MR.   SAKON:    John Sakon,       28 Fenwick Drive,

19             Farmington, Connecticut. Your Honor,                  I recently had a

20             hip surgery so I would ask to be, permission to be

21             seated during sometimes the argument.

22                   THE   COURT:    Granted.


23                   MR.   SAKON:    And in addition,          I    would like Mr.

24             O'Toole sworn as      a   material witness.

25                   THE COURT:      Denied.       Sit down.       Sit down.   This   is

26             your motion for contempt, Mr. Sakon.

27                   MR.   SAKON:    Yes,       Your Honor.    I    will note for     the
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 1             Court that a mandatory resolution plan was ordered by

 2             this Court on 4/21 at eleven o'clock.                       We were to

 3             proceed to family relations in order to work out our

 4             differences.      I    will note       for    this      Court that the


 5             plaintiff refused to attend to these mandatory

 6             sessions.


 7                    MS.   SEVINE:         That's    not    true.


 8                    MR.   SAKON:      And    I    would    like      to submit   the


 9             parenting plan that I had ready for that session.

10             Because we were supposed to present a resolution

11             plan. I have prepared —

12                    ATTY.    O'TOOLE:        Your    Honor       —


13                    MR. SAKON:        —     a parenting plan.            I have prepared

14             a parenting plan to submit, and I'd like to submit

15             that   as    evidence    in    the    court    at    this   time.


16                    THE COURT:        Well, we are here on your motion for

17             contempt in which you alleged that Ms. Sevine has

18             stopped you from seeing your son for seven months.                              Do

19             you want to be heard on that?

20                    MR. SAKON:        Well,       that's part of this hearing

21             because this hearing was —

22                    THE COURT:        Well,       that's the only part of this

23             hearing.      Is that what you are looking to present?

24                    MR.    SAKON:     I    understand that.            Your Honor,     but

25             there was a mandatory resolution plan ordered on 4/21

26


27                    THE COURT:        Well, we are going to address your
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 1             motion for contempt.

 2                    MR.   SAKON:   Okay,   Your Honor.

 3                    THE COURT:     Which was filed before the proposed

 4             resolution plan date. This was filed on January 30.

 5             So if you want to address the motion for contempt.

 6                    MR.   SAKON:   Okay. Your Honor,     I   call Ms.   Sevine

 7             to   the   stand.


 8                    THE COURT:     Ma'am, would you come up here.

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 1     FRANCELIA                    SEVINE


 2           of P.O. Box 1504690530, Hartford, Connecticut, being

 3     previously sworn, was examined, and testified under oath as

 4      follows:


 5                        THE COURT:      You may know that the microphone

 6                 doesn't amplify your voice i t just records. You need

 7                 to speak up so we can get a record.

 8                        MS.   SEVINE:      Yes,   Your Honor.

 9                        THE COURT:      You may inquire.

10      DIRECT EXAMINATION          BY MR.    SAKON:


11           Q     Ms. Sevine, do you have a son?

12           A     Yes.


13           Q     Look at me, Ms. Sevine. Please don't look at your

14      attorney.

15                        THE COURT:      Excuse me,      ask question.       Don't

16                 direct anyone in the courtroom to do anything. That

17                 is my job.

18                        MR.   SAKON:    Your Honor,         there's —     there —

19                        THE COURT:      Sir, ask a question.

20                        MR.   SAKON:    Okay.      I'm just pointing out to the

21                 Court and for the record that Ms.                Sevine is getting

22                 verbal   clues    from Mr.       O'Toole   at   this   time.


23                        THE COURT:      Do you have a question to ask?

24                        MR.   SAKON:    Yes.


25      BY   MR.   SAKON:


26           Q     Do you have a      son?

27           A     Yes.
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 1         Q   What's his name?

 2         A   Odin Sakon.


 3         Q   Okay. Does he have a father?

 4         A   Yes.


 5         Q   When was the last time your son saw his father?

 6         A   I   don't     remember.


 7         Q   You don't       remember?


 8         A   No,    I   don't remember.

 9         Q   Okay. Did he -- has your son seen his father this

10     year?

11         A   I   don't think so.       No.


12         Q   Okay. Has your son seen the father since the

13     memorandum decision issued by Judge Nguyen?

14         A   Judge Nguyen. No.

15         Q   Okay. So why is that the case?

16         A   Because no third-party therapeutic agency has

17     contacted me to start the intake process for visits to

18     occur. And,        in addition,   I have yet to receive proof that

19     his father is in therapy which there should be quarterly

20      reporting that the father has engaged in therapy.

21         Q   Are you the gatekeeper to both of those items?

22         A   I   don't     know what that means.


23         Q   Okay.       Is i t your job to review whether the father is

24      receiving therapy?

25         A   I am to receive proof of that or my attorney.

26         Q   Or your attorney? Are you the gatekeeper? Are you the

27      one to decide whether he's in therapy or not? Is that your
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 1      responsibility to your understanding?

 2         A     I don't understand that question but what I            am saying

 3      is that I am supposed to be provided proof.

 4         Q     Were you not provided proof?

 5         A     No.


 6                       MR.   SAKON:   Just one second,     Your Honor.

 7                       THE   COURT:   Certainly.

 8                       MR.   SAKON:   It's   here   somewhere.


 9      BY MR.   SAKON:


10         Q     Ms. Sevine, did you receive a letter from Dr.

11      Lauerman that was unsigned?

12         A     No.


13         Q     Did you not complain in our —            I'm sorry. Do the

14      parties communicate through Our Family Wizard.

15         A     Do you and I communicate through Our Family Wizard?

16      Is that —        I'm not sure is the question about me and you?

17         Q     Yes,    do we --

18         A     Okay --

19         Q     —     communicate through Our Family Wizard.

20         A     Yes.


21         Q     Wasn't — you — didn't you not request the — the

22      therapist of John Sakon through Our Family Wizard?

23         A     I   —   what I   remember -- I ' l l just say what I

24      remember.      It might just help us save some time. You provided

25      a letter that was unsigned from Dr. Lauerman which had dates

26      that were already passed when you sent the letter to my

27      attorney,      Mr. O'Toole, Attorney O'Toole. And you also sent
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 1     the unsigned letter through Our Family Wizard later. And

 2     then I     asked for proof of current therapy,              and you sent the

 3     same letter signed but still with no current dates.

 4                        MR. SAKON:        Okay.   If I may.   I'm sorry.   I   just

 5                have one copy,       I'm sorry.      (Indiscernible) Thank you.

 6                        MS.   SEVINE:      Thank you.

 7     BY MR.     SAKON:


 8         Q      Do you recognize this letter?

 9         A      It looks like probably the letter you sent through

10     Our Family Wizard.

11         Q      It says from John Sakon to Francelia Sevine. Is that

12      correct?


13         A      Are you talking about the letter? Or the —                 our --

14         Q      I'm talking about the cover.

15         A      The — okay. The Our Family Wizard message report.

16      yes.


17         Q      Did you read that on 2/10/2023 at 3:28 p.m.?

18         A      That's what i t says.

19         Q      Okay. And doesn't i t say attachments Dr. Lauerman

20      letter?


21         A      No.


22         Q      It says subject Dr.          Lauerman letter.       Does i t not?

23         A      Oh,    yes,   i t does.

24         Q      And i t says attachments.           Does i t not?

25         A      Yes.    It says R-L-R-J-L Sakon 011023.

26         Q      Okay.    Isn't — look at page two, please. Wasn't that

27      letter,    the letter provided to you?
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 1          A     I'm not completely 100 percent sure. It's similar. It

 2     maybe — but I don't see any dates here and I remembered --

 3          Q    Well,     the date is January lO^h on top of the letter.

 4     Is   it   not?


 5          A     Right. So that's the date of the letter, however,                         you

 6     didn't send i t to my attorney or to me until after that date

 7     and after January 17^^.

 8                       MR.       SAKON:     Okay. Your Honor,         I   like to offer

 9                this   as    a    full    exhibit.


10                       ATTY. O'TOOLE:              No,   objection.

11                       THE COURT:           Copy of the report.

12                       MR. SAKON:           Yes.    I have more copies.        I   just have

13                to pull out my copy.

14                       THE CLERK:          (Indiscernible)

15                       THE COURT:           All right. Exhibit A is a full

16                exhibit.


17                       MR.       SAKON:     All right.

18     BY MR.     SAKON:


19          Q     Would you read the first line of that letter, please,

20     that Dr.     Lauerman says?

21          A     You may use this letter as you see fit.

22          Q     Oh,    I'm sorry,         the first line in the first paragraph,

23          A     You have requested psychotherapy in compliance with

24      the Court's request as a condition of visitation with your

25      child.


26          Q     Okay. And you didn't think that letter was sufficient

27      to satisfy the —             Dr. Lauerman saying to whom i t may
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 1   concern.     I s n ' t that l e t t e r sufficient to show John Sakon in

 2   fact has entered therapy?

 3      A     I don't —     I     feel that i t ' s insufficient to say that

 4   you are currently engaged in therapy.

 5      Q     Oh,   I'm sorry. Okay. We'll go through that again. Are

 6   you the gatekeeper?

 7      A     You were just asking me my opinion.

 8      Q     Okay.

 9      A     So that's my opinion.

10      Q     Okay. In your opinion, are you the gatekeeper as to

11   whether Mr.      Sakon i s    in conformance with the   orders   of the


12   Court?


13      A     I'm not sure how to answer that. Whatever gatekeeper

14   means?   What does    t h a t mean?


15      Q     (Indiscernible)        You decided that Mr.    Sakon was not in

16   therapy in according to the orders of the Court.             Is that

17   correct?


18      A     I've —      I decided that this was not proof of you

19   being engaged in therapy in the current moment when I

20   received i t .


21      Q     When was that?

22      A     I   don't   remember.    I t was   on   —


23      Q     What's the date?        (Indiscernible)

24      A     It was on February 8^^.

25      Q     And did John Sakon not send you one sooner?

26      A     Yes. An unsigned letter.

27      Q     And i t was unsigned therefore John Sakon got Dr.
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 1   Lauerman to sign the letter and sent i t to you.                  Is that

 2   correct?


 3         A         I   don't     know what he did.


 4         Q         Well,       obviously,    you had a letter that was unsigned

 5   and then you received a letter that was signed.

 6         A         Yes.


 7         Q         So if John Sakon has entered therapy according to the

 8   Court,          why have —          why are you refusing custody? Excuse me,

 9   why are you refusing visitation?

10         A         As I said,         I don't consider this being proof that

11   you're currently engaged in therapy. I did try to verify i t

12   with Dr. Lauerman and received no response. And,                   in

13   addition, the visitation needs to be scheduled through a

14   therapeutic agency,                  supervised visitation agency. And I have

15   yet to be contacted by anyone to start the intake process

16   for       our       son.


17         Q         What is the therapeutic visitation agency?

18         A         It's a —          an agency that provides services for

19   supervising visits.

20         Q         Is that you're understanding or are you quoting some

21   law?


22         A         That's my understanding.

23         Q         Okay.       Is there any definition of therapeutic

24   visitation agency in the law to your understanding?

25         A         I    have    no   idea.


26         Q         Okay. So you are the gatekeeper deciding what's a

27   therapeutic visitation agency or not? Is that correct?
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 1     A    No. There is a list of therapeutic supervised

 2   visitation agencies on the government judicial website.

 3      Q   Isn't that for juvenile court? And aren't those

 4   agencies hired by D.C.F in order to provide supervision for

 5   parents whose children are in custody of D.C.F?

 6      A   That's not my understanding. And we've also had

 7   supervised visitation previously at Klingberg which is one

 8   of the agencies on the list.

 9      Q   And we've also had agreed to supervised visitation by

10   third party.   Is that correct?

11      A   Can you restate that.

12      Q   The past.

13      A   What did you say? I'm sorry.

14      Q   We had visitation with third parties from neither

15   Klingberg or Today's Youth,       is that correct?

16      A   Yes.


17      Q   Okay. So you agreed to supervised visitation by third

18   parties in the past.     Is that not correct?

19      A   I   don't   remember.


20      Q   Well,   you remember that there were third parties, did

21   you object to at that time?

22      A   I don't remember.       I might of.

23      Q   So you are not aware of any law defining what is

24   supervised visitation agency is? You said that,      is that

25   correct?


26      A   Yes,    I'm not an attorney.

27      Q   What makes you the gatekeeper of what is the
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                                                                                      12



 1   supervised visitation agency.               Is that correct?

 2        A     I'm not saying I'm a gatekeeper.

 3        Q     But you've denied visitation because there was no

 4   supervised visitation agency.

 5        A     I haven't denied visitation. I am waiting for the

 6   therapeutic agency to contact me so that visitation can

 7   commence.        And   that   was   communicated —


 8        Q     There is no question, pending.

 9                      MR.   SAKON:     One   for   him.   One    for   her.   And


10              judge's copy when he is ready to receive.

11                      MS.   SEVINE:      Thank you.

12   BY MR.     SAKON:


13        Q     Ms. Sevine, have you stated publicly that you never

14   want your son to see his father again? Yes or no.

15        A     No.


16        Q     I give you the exhibit that you have right here.

17                      MR.   SAKON:     Mark i t for I.D.,         Your Honor.

18                      THE COURT:        You can mark i t        for    I.D.


19   BY   MR.   SAKON:


20        Q     Ms. Sevine,        this is a message chain between John

21   Sakon and Francelia Sevine. Would you agree to that? It's a

22   chain of messages you exchanged with John Sakon on Our

23   Family Wizard

24        A     Yes.


25        Q     Okay. Turn to page two. The message on 2/7/23. Sent

26   from John Sakon to you. You read that message on 2/10/2023

27   at 3:28 p.m.           Is that correct?
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                                                                                      13



 1         A      That's what i t says.

 2         Q      Okay. Would you please,        read the entire message to

 3   this Court.         It's only short. The short message so read i t to

 4   the       Court.


 5         A      My psychologist.   Dr. Richard Lauerman, would like a

 6   visitation and therapy session with dad and Odin on

 7   02/15/2023 at 3:00 p.m. This is during my scheduled

 8   visitation. His office is at 1031 Farmington Avenue in

 9   Farmington.         Dr. Lauerman's office is literally across the

10   street from Forest Park, my complex. As I will be recovering

11   from my hip operation,          I would ask you to bring Odin to his

12   therapy session. SD school lets out at two fifteen which

13   gives enough time for travel. His phone number is 8 60-677-

14   2550,       John.

15         Q      Okay. Now I   like you to refer back to Dr. Lauerman

16   l e t t e r and Exhibit A.    Does   that    l e t t e r note   Dr.   Lauerman

17   qualifications?

18         A      He's a license provider.

19         Q      Yes.   But would you,   please,     read his qualifications?

20   Just a second,         I gotta find --

21         A      As a licensed provider in this state and a member of

22   the American Psychological Association,                 specifically,

23   division eight.         Society for Personality and Social

24   Psychology.         I believe I possess the capacity to be of

25   assistance.


26         Q      Okay. You don't feel Dr. Lauerman qualified to be a

27   supervised in a supervised visitation agency?
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 1     A    No,   I don't. He's not a third party. He's your

 2   therapist not the child's therapist. He's not in a

 3   therapeutic role for the child.

 4     Q    But he was serving as a supervised -- for the

 5   supervised visitation.

 6     A    It's not appropriate because he's your therapist. If

 7   he is even your therapist.

 8      Q   So you're — once again being gatekeeper to make John

 9   jump through hurdles in order to see his son? Even though he

10   arranged to have a Doctor of Psychology act as the

11   supervisor. Not a session just a supervisor for the session.

12   That was not acceptable to you?

13      A   Dr. Lauerman is not a third party therapeutic

14   supervised visitation agency.

15      Q   How is he a first party? Is he part of this lawsuit?

16      A   He's your therapist supposedly.

17      Q   Therapeutic supervised visitation? That doesn't

18   qualify with a psychologist with a Ph.D? He's a licensed

19   psychologist in the state of Connecticut. He doesn't

20   qualify?

21      A   I'm not sure what you are asking me.

22      Q   Ms.   Sevine —

23                 ATTY. O'TOOLE:    It's argumentative. Your Honor.

24                 THE   COURT   Overruled.


25                 MR.   SAKON   I'm sorry.

26                 THE   COURT   His objection is overruled.

27                 MR.   SAKON   What was his objection?
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 1                     THE COURT:      Argumentative.

 2                     MR.   SAKON;    Okay. Would the,     clerk,   please,    I

 3              mean read back the last question.

 4                     MS.   SEVINE:    The   clerk?


 5                     THE COURT:      He means    the monitor.


 6                     MS.   SEVINE:    Oh.


 7              (Monitor reading back last question)

 8   BY   MR.   SAKON:


 9        Q     So Dr. Lauerman is a licensed therapist in the state

10   of Connecticut does not qualify to conduct a supervised

11   visitation between father and child. Is that what you are

12   saying?

13        A     I   think I said that he is not a third party

14   therapeutic supervised visitation agency.

15        Q     Ms.    Sevine,   or should I     say Mrs. O'Toole.    I don't

16   know how to address you at this point.

17        A     It's Ms.     Sevine,   thank you.

18        Q     Okay. So that Mr. O'Toole, is your husband,             correct?

19        A     Attorney O'Toole, is my husband, correct.

20        Q     He's acting as your attorney here today.             Is that

21   correct?


22        A     Yes.


23        Q     And you don't think that's a conflict of interest?

24        A     No.


25        Q     Okay. Mr. O'Toole,       funded the —

26                      ATTY. O'TOOLE:        Your Honor,   this is getting off

27              the path,     i t ' s not relevant.
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 1                   THE COURT:     Sustained.


 2                   MR.   SAKON:   Okay.

 3   BY MR.    SAKON:


 4         Q   So going through this chain. You say on the next one

 5   2/10/2023, please provide proof that you are currently in

 6   therapy. I'm confused about that. Mr. Sakon has said that he

 7   would like to meet with Odin,          and Dr.   Lauerman on his

 8   office. In a therapy session with Odin and dad at 2/15 and

 9   three o'clock. So how could Mr. Sakon not be in therapy if

10   he wants Odin to meet with his therapist two days after the

11   2/13. Aren't you being an obstructionist here?

12         A   No.


13         Q   You don't want Odin and his father to meet, do you?

14                   ATTY. O'TOOLE:     Again,   Your Honor,   this is

15             argumentative.

16                   THE COURT:     Overruled. You may answer the

17             question.

18   BY MR.    SAKON:


19         Q   You don't want Odin and his father to meet? Yes or

20   no.



21         A   Oh,   I thought —    I thought you were saying that.

22         Q   You don't want Odin and his father to meet?

23         A   Not at all.    I'd like them to meet in a therapeutic

24   supervised visitation agency.

25         Q   Okay. Let's go to the next one on 2/13, to Francelia

26   Sevine, supervised visitation from John Sakon. It says in

27   that,     does i t not say there -- oh,     I'm sorry you read that
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 1   on 2/15/2023 9:32 a.m.            Is that correct?

 2        A     I'm sorry which one are we looking at?

 3        Q     Looking at February 13, 2023. An email sent from John

 4   Sakon, that you read on at 2/15/2023 at 9:32 a.m.

 5        A     Okay.

 6        Q     Okay.      Is that correct?

 7        A     Is    it   correct   that   I   read i t ?


 8        Q     Yes.

 9        A     Well, it says it right there.

10        Q     I'm asking you did you read i t or did someone else

11   read     it?


12        A     That's what i t says.           I don't know.

13        Q     Is anybody else reading your Our Family Wizard?

14        A     No.


15        Q     Is Mr. O'Toole reading them?

16        A     No.


17        Q     So,    therefore,     if you're the only one logged into the

18   account,        i t ' s you.

19        A     I've already said, that's what i t says. So I've said

20   it   three      times.


21        Q     Okay. Actually,        i t does not that email say.   Dr.

22   Lauerman is a licensed psychologist who has undertaken

23   numerous supervised visitation assignments. He has been

24   gracious enough to have supplied his phone number to you if

25   there are any questions.               It is 860-677-2550. Does i t not say

26   that?


27        A     Yes.
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 1         Q         Okay. Let's go to the top of the email.                    February 17,

 2   2023,       as I      have said twice before, does i t not —                  would you

 3   please read the second paragraph.

 4      A            The first message?

 5         Q         Hmmmm.

 6      A            As I have said twice before supervised visits can be

 7   scheduled with Odin through a therapeutic supervised

 8   visitation agency. To date no supervised visitation agency

 9   has contacted me to set up visitation.

10         Q         So you are acting as a gatekeeper again.                    Is that

11   correct?


12         A         Is that a question?

13         Q         You're act —            isn't that you're acting as a

14   gatekeeper?

15         A         I   don't like this word,            gatekeeper.    So I    can't answer

16   that question.

17         Q         Well,    you're the one who's in control of the gate

18   whether Odin is going to see his father or not.                             Is that

19   correct?


20         A         I   don't     —    I   don't    know what   i t means.


21         Q         Who is —          who is guarding the gate whether Odin can

22   see       his       father    or not?


23                           MR.    SAKON:      I'm sorry Your Honor,         I ' l l try to be

24                   quiet.       I get loud.

25                           MS.    SEVINE:         So if we had a therapeutic agency

26                   involved, there would be a therapist that would work

27                   with Odin. Who would schedule the intake process for
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                                                                               19



 1              Odin to begin visitation with you. And at this point,

 2              probably reunification services too because it's been

 3              so long since the visitation started.

 4   BY   MR.   SAKON:


 5        Q     Oh,   so now you're putting additional requirements

 6   upon the —

 7        A     I'm not putting requirements I'm just --

 8        Q     But you're asking for additional requirements now?

 9        A     —     trying to get you to understand what's actually

10   going on.

11        Q     I understand you don't want me to see my son.

12   Wouldn't that be clear from your correspondence?

13        A     No,    i t ' s not.

14        Q     Then why —        why —

15        A     I think my correspondents is very clear about my

16   intention.


17        Q     In your mind,         is i t in the best interests of the

18   child that the child has not seen his father since July of

19   last year? Yes or no.

20        A     I can't say at this point.

21        Q     Is i t in the best interest of the child --

22                      ATTY. O'TOOLE:         Your Honor,   that's already been

23              asked. He's getting argumentative here.

24                      THE   COURT    Well.


25                      MR.   SAKON      What?


26                      THE   COURT      Finish your question.

27   BY   MR.   SAKON:
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                                                                                        20



 1         Q      Is i t in the best interest of the child not to see

 2   the       father?


 3         A      I would say i t ' s in the best interest of the child to

 4   see the father in a therapeutic setting.

 5         Q      No.    Is i t in the best interest of the child to see

 6   the       father    —


 7         A      I   can't    —


 8                       ATTY. O'TOOLE:            The question —     the question

 9                been asked        and answered.


10                       THE     COURT:        Overruled.


11                       MR.     SAKON:        What?


12                       THE     COURT:        I overruled the objection.

13   BY MR.       SAKON:


14         Q      Is i t in the best interest of the child to see the

15   father?


16         A      Just see him period with no constraints?

17         Q      Yes. That's a yes or no question —

18         A      Then i t ' s     no.   No.


19         Q      No,    i t ' s not in the best interest of the best

20   interest of the child to see the                     father?


21         A      Not unless there is a third party —

22         Q      Your attorney can rehabilitate you. So you don't feel

23   that the         child should see           the   father because i t ' s not   in the

24   c h i l d ' s best      interest?


25         A      I   think I      answered that question.

26         Q      Okay. So when are you going to allow the child to see

27   the       father?
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                                                                                  21



 1       A      When a third party supervised visitation agency

 2   contacts me to start the intake process for Odin. So that

 3   supervised visitation can occur.

 4       Q      Okay. What are the cost of the supervised visitation

 5   agency?

 6       A      I   don't      know.


 7       Q      About $100 an hour,            isn't i t .

 8                       ATTY. O'TOOLE:         Your Honor, he's testifying.

 9                       THE     COURT:   Sustained.


10                       MR.     SAKON:   Okay.

11   BY MR.     SAKON:


12       Q      Is i t possible to arrange for John Sakon to arrange a

13   supervised visitation agency to pick up the child at school

14   at 2:15 and bring back the child at seven o'clock? Do you

15   know any agencies that work those hours?

16       A      I   am —       I don't know.      So all I can say is that I am

17   waiting for some person at an agency, a case worker to

18   c o n t a c t me.


19       Q      I think you do know —              supervised visit agencies work

20   business hours,             don't they?

21       A      No,      they have evening they — I mean our visits were

22   definitely in the evening. They do weekends so.

23       Q      Okay. John Sakon has been declared by the Court to be

24   indigent.        Is that correct?

25       A      I   have    no    idea.


26       Q      Well,      you did have Mr. Sakon arrested six times on

27   fourteen felonies and misdemeanors,                     did you not?
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                                                                              22



 1      A     I don't have people arrested.

 2      Q     Was John Sakon arrested upon your complaints six

 3   times for violation of protective orders,            and for disorderly

 4   conduct on your complaints? Yes or no.

 5      A     Yes.


 6      Q     And what happened in criminal court as to all those

 7   charges?

 8      A     They nolled them.

 9      Q     What?

10      A     They nolled them.

11      Q     They — didn't — weren't you there for the jury

12   trial of John Sakon,         on —     on the nine felonies that you —

13      A     I   think i t was on one charge,       I mean,    but —

14      Q     Not one charge.          It was eight felonies.

15      A     I   don't     remember.


16      Q     Nine felonies,          nine felonies that jury trial was

17   under.


18      A     Well,    I    know that the rest of them were nolled.

19      Q     Was John Sakon facing 80 years in prison on the

20   charges that he went to jury trial for —

21                    THE COURT:        Why is this relevant to the contempt

22            motion?


23                    MR.    SAKON:     I'm sitting there saying that this

24            is a very vindictive mother. That is going to do

25            everything in her power in order to destroy the

26            family,       to destroy the family financially,      destroy

27            John    —
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                                                                                 23



 1                     THE COURT:        Isn't this about whether you

 2              complied with Judge Nguyen's order?

 3                     MR.   SAKON:      What?


 4                     THE COURT:        This is about whether you complied

 5              Judge Nguyen's order. Not whether you were acquitted

 6              by a   jury to some charge.

 7                     MR.   SAKON:      Okay.

 8   BY MR.     SAKON:


 9        Q     So i f John Sakon has a          total of nine hours of

10   visitation a week. And if a visitation agency, what you

11   describe is a visitation agency,               I   don't know what a

12   visitation agency is. That would be $900 a week. What,                 is

13   that     not   correct?


14        A     I don't have any knowledge of what the charges are at

15   an   agency.


16        Q     Okay. But if i t was $900 a week,            that would amount to

17


18                     ATTY. O'TOOLE:        It's a hypothetical.     It's not

19              appropriate.         Your Honor.

20                     MR.   SAKON:     (indiscernible)

21                     THE COURT:        Sustained. She is not an expert

22              witness.


23                     MR.   SAKON:      Okay.

24   BY MR.     SAKON:


25        Q     Where is John Sakon going to get that money to

26   arrange that supervised visitation that you are requiring?

27        A     I   don't    know.
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                                                                                  24



 1         Q      Is there an agency that Mr. Sakon can apply to that

 2   would      cover   the   cost?


 3                      ATTY. O'TOOLE:      Again,     Your Honor,   this isn't

 4               really within the knowledge of the witness.

 5                      THE COURT:      She can say.

 6                      ATTY. O'TOOLE:      Okay. All right.

 7                      MS.   SEVINE:    Yeah,   I   don't know.

 8   BY MR.      SAKON:


 9         Q     You don't know? Okay. Would — have you inquired

10   whether any supervised visitation agencies on your approved

11   list provide free services?

12         A     No.


13         Q     Okay. So where is even a well employed father not a

14   retired 68-year-old man going to get the money to pay for

15   all       of these visitations?


16         A     Well, he could use the money he didn't pay in child

17   support to have a visit.

18         Q      Okay. John Sakon is not paying child support?

19         A     No.


20         Q      Didn't your social security go up in 2023?

21         A      No.


22         Q      It didn't go up to cover the additional child support

23   that John Sakon was supposed to pay?

24         A      You're suppose to pay child support.

25         Q      How much?

26         A      Not   —


27         Q      How much?
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                                                                                       25



 1        A      Not —        not social security.

 2        Q      I'm sorry.           Is the social security part of the child

 3   support payment?

 4        A      No.       It's   a   benefit   to   the   child —


 5        Q      It's a       benefit to the father —

 6        A      — directly.

 7        Q      not to the child.              It's the father's social security.

 8        A      We are getting far afield.

 9        Q      Please answer the question. How much social -- how

10   much is the payment that John Sakon is supposed to make to

11   you?

12        A      I   don't        remember.


13        Q      Isn't i t $12?

14        A      I   don't        remember.     It   could —   it   could be.   It's


15   something like that.                  It's small.

16        Q      A small amount.

17        A      Hmmm.


18        Q      Didn't your social security go up by $120 last year?

19        A      I   don't        know.


20        Q      And if i t did,           wouldn't that have covered the payment

21   the father was indebted to you for?

22        A      No.


23        Q      Okay. You know that John Sakon went bankrupt in 2019.

24   Is   that       correct?


25        A      I   don't        know.


26        Q      Do you think that you having the father arrested six

27   times    for      a    total     of   —
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                                                                                     26



 1                       ATTY. O'TOOLE:        Again, we are off under these

 2               arrest.


 3                       THE COURT:       Sustained.   I thought I   ruled on

 4               that.


 5                       MR.   SAKON:     Okay.

 6   BY MR.      SAKON:


 7        Q      So you are setting up financial obligations with a

 8   agency that does not exist in the law as a condition of the

 9   father seeing his child?

10        A      Is that a question or a statement?

11        Q      That's a question.

12        A      So am I       —   yes,   or no?

13        Q      Yeah.    Yes or no.

14        A      No.


15        Q      No. Okay. Where was that statement incorrect?

16        A      I don't remember the statement even at this point so.

17        Q      Ms. Sevine,        you — Mr. O'Toole,     is your attorney is

18   he   not?


19        A      I   answered      that   earlier.


20        Q      Has he not advised you as to the law of visitation?

21        A      Whatever is happening between my attorney and I,               is

22   none of your business.

23        Q      Can visitation be condition upon a financial payment?

24   Yes or no,        in your mind.

25        A      No.


26        Q      But your condition the visitation on the financial

27   payment of the father to the therapeutic —
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                                                                               27



 1      A   No,    I'm not.

 2      Q   I'm sorry.

 3      A   No. My only concern is that my child, Odin, has the

 4   therapeutic support in place that he needs in order to have

 5   visitation with his father who is seriously mentally ill.

 6      Q   In your mind.

 7      A   No. There is a psychological evaluation.

 8      Q   Okay. So as,         to this alleged mental disability,       so

 9   you're that this Court should be allowed to discriminate

10   based upon the father's disability?

11      A   No    that's   not    what   I   said.


12      Q   Then what did you say? I mean you're saying that the

13   father has a disability, has a mental disability —

14      A   I didn't say you had a disability.               I said that you

15   have a mental illness,         a very serious mental illness.

16      Q   Isn't a mental illness a disability under the law?

17      A   I    don't   know.


18      Q   Okay. Can you discriminate it against the person with

19   the disability?

20      A   I    don't   know that e i t h e r .


21      Q   Okay. You know a little about John Sakon's history,

22   correct?


23      A   In what way?

24      Q   Didn't John Sakon raise two other children?

25                  ATTY. O'TOOLE:           Again,   this isn't relevant. Your

26          Honor.


27                  THE COURT:       Sustained.
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                                                                            28



 1                    MR.    SAKON:   Okay.

 2   BY MR.   SAKON:


 3      Q     So this alleged mental illness predicated on a report

 4   that was issued in 2019,          is that correct?

 5      A     And also by the —         John's previous therapist,   Bob

 6   Fogel.

 7      Q     John's previous therapist, when was the last time

 8   John saw the previous therapist?

 9      A      I   don't    know.


10      Q     I s n ' t that relevant?

11      A     No.


12      Q      I'm sorry.      Is the best interest of the child as of

13   today or is i t the best interest of the child as of five

14   years ago?

15      A     Today of course.

16      Q     Okay. And didn't Dr. Smith,        say in her testimony,     you

17   were there,      were you not? Were you there? Were you not?

18      A      Did she say what in her testimony?

19      Q     Were you there when Dr. Smith testified?

20      A     Yes.


21      Q      Did Dr. Smith not testify in the court that her

22   custody evaluation did not measure the current best interest

23   of the child as the date of her testimony? Yes,          or no?

24      A      I would have to go back and look at what she said.           I

25   don't    know.


26      Q     Would i t help you to look at the transcript?

27      A      I don't -- I don't remember everything that Dr. Smith
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                                                                                                29



 1   said during her testimony which went on for days, and days,

 2   and days.

 3        Q        It went on for days,                  and days, and days.         Did John

 4   Sakon      file      a    motion       —


 5        A        It was a 29-day trial —

 6        Q        And John Sakon filed a motion to eliminate because

 7   you produced a report in December 2019 for a decision that

 8   was entered in, on July 2022. How could Dr. Smith's report -

 9


10                            THE COURT:           Mr.   Sakon, we need to get focused on

11                 your motion.

12                            MR.   SAKON:         Okay.

13   BY   MR.      SAKON:


14        Q        You filed a complaint against John Sakon, did you

15   not?     In       D.C.F?


16        A        No.


17        Q        Then why did D.C.F. do a report on John Sakon?

18        A        I    don't       know.


19                            MR.    SAKON:        You have      one   of   these?


20                            ATTY.    O'TOOLE:          Here.


21                            MR.    SAKON:        One for the judge. One for the

22                 clerk.


23                            THE COURT:           Are you offering an Exhibit B, Mr.

24                 Sakon?


25                            MR. SAKON:           Oh,   I'm sorry.         I would ask Exhibit B

26                 to be made a             full    exhibit.

27                            ATTY. O'TOOLE:             No objection.
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                                                                               30



 1                       THE COURT:      All right. Exhibit B is a full

 2               exhibit.


 3                       MR.   SAKON:    Now Exhibit C.


 4   BY   MR.    SAKON:


 5        Q      Have you seen this paper before?

 6        A      Yes.


 7        Q      As a matter of fact,          you've given this paper to John

 8   Sakon' s     lawyers have you not?

 9        A      What?


10        Q      Did you not give the results of the D.C.F.

11   investigation of John Sakon to his employers? Yes, or no?

12        A      To who's lawyers? No.

13        Q      Did you not give a copy of this to the CREC system

14   where      Mr.    Sakon was working?

15        A      Yes.


16        Q      Okay.

17        A      I gave it to his school at the time. He's in a

18   different         school.


19        Q      Isn't this sealed by law?

20        A      No.


21        Q      Weren't you instructed that this document was sealed

22   by   law?


23                       THE COURT:      Mr.   Sakon,   could we get back to your

24               motion,       please.

25                       MR.    SAKON:   Okay.

26   BY   MR    SAKON:


27        Q      Doesn't this document say that D.C.F finds that John
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                                                                                       31



 1   Sakon does not post a risk to the health,                 safety, well-being

 2   of children? Yes,       or no?

 3      A     That's the boxed that's checked,               yes.

 4      Q     Yeah. Okay. Okay. Now I asked you another question.

 5   You're so fearful of John Sakon,             were you fearful of John

 6   Sakon before August 9^^ —

 7                   ATTY. O'TOOLE:         There is an assumption here.           I

 8            don't know where this fearful thing comes from.

 9   BY MR.   SAKON:


10      Q     Are you fearful of John Sakon?

11      A     Yes.


12      Q     Were you fearful of John Sakon before August 9, 2016,

13   when he told you he wanted a divorce?

14      A     Yes.


15      Q     You were?

16                   THE   COURT:     Mr.   Sakon   —


17                   MS.   SEVINE:     But he d i d n ' t   t e l l me he   wanted a


18            divorce.


19                   THE COURT:       This has nothing to do with your

20            motion for contempt.          I'm going to give you one more

21            chance to focus on that motion for contempt, and then

22            we   are   done.


23                   MR.   SAKON:     Okay.

24                   MS. SEVINE:       I'd like to just clarify that --

25                   THE COURT:       Ma'am   (indiscernible)        —

26                   MS.   SEVINE:     —    that conversation never

27            happened.
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                                                                                        32



 1                        THE COURT:       Ma'am, ma'am —             just —

 2                        MS.   SEVINE:     Okay.

 3   BY    MR.    SAKON:


 4         Q      It's your desire to move to Colorado,                     isn't it?

 5         A     No.


 6         Q      It's your desire to relocate,                isn't it?

 7         A      No.


 8         Q     Wasn't that your desire,                 stated desire in the trial?

 9   Relocation?


10         A      I   asked for a       relocation,       and i t was denied.

11         Q     And i t was denied.          It's no longer your desire to

12   relocate?


13         A      No.


14         Q      Okay. So why aren't you relocating?

15         A      Because i t ' s not my desire.

16         Q     And if John Sakon doesn't exercise 75 percent of his

17   visitations in the first year, he loses his rights for

18   visitations,          is that correct? In your mind?

19         A      I   don't     know.


20         Q      Okay. So doesn't i t say that in the decision?

21         A      I   don't     know.   I ' d have   to    look a t   the   decision.


22         Q      So how can John Sakon exercise 75 percent of his

23   visitation if you refuse visitation between the father and

24   the       child?


25         A      I'm not refusing visitation.

26         Q      Okay.

27         A      I'm trying to comply with the court order.
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                                                                                              33



 1      Q      Okay. Let's go to the school events. Did you — were

 2   you notified that John Sakon was going to pick up Odin at

 3   school in February? John Sakon notified you and the school

 4   notified you. And he was going to have a —

 5      A      What does this have to do with contempt?

 6      Q      It has to do with contempt wasn't John Sakon showing

 7   up if a supervisor to exercise his visitation. And he was

 8   going to pick up the child at the school,                         just a second. On

 9   February 1,      2023.

10      A      I   don't    remember the     dates        but   somewhere       around


11   there.


12      Q      And did you not take the child from the school at one

13   o'clock in order to         i n t e r f e r e with    that v i s i t a t i o n ?


14      A      Again there —

15      Q      Yes,   or no?

16      A      No.


17      Q      Did you pick up the child prior to the school closing

18   so as    to frustrate      the visitation?


19      A      No.


20      Q      Did you pick up the child prior to the close of

21   school?


22      A      Yes.


23      Q      Okay. Why?

24      A      Because —       I'm getting a little bit,                 like —         I might

25


26                    ATTY.    O'TOOLE:      Can we        take    a   short    break?


27                    MS.    SEVINE:    Yeah,     I   need --
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                                                                                                        34



 1                         MR.      SAKON:     No.   no.     I       don't   want   a   short   break


 2                 at this point in time.

 3                         MS.      SEVINE:     I    think       I    need a   break.


 4                         THE COURT:          All right. We're going to stand in

 5                 recess      for    five    minutes.


 6                         MARSHAL: All rise, please. All rise,                           court

 7                 stands      in    recess.


 8                                           (Recess taken.)

 9                         THE COURT:          Good morning. Come on up ma'am. You

10                 may inquire.

11   BY   MR


12        Q

13   John      :


14        A        I   don't     know.


15        Q        Isn't    it      zero?


16        A        Maybe.

17        Q        So you have singular inability to talk to the father?

18        A        We use Our Family Wizard to communicate.

19        Q        I understand that but that's not the question. Do you

20   have      .   singular inability to talk to the father?

21        A        An inability?

22        Q

23        A        No.


24        Q

25                         THE COURT:          Mr.    Sakon why is this relevant to

26                 your motion for contempt?

27                         MR.      SAKON:     Because,          Your Honor,        she's saying
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                                                                                   35



 1            that there is fear here. And I'm going to show that

 2            there is no fear here. Because she testified in prior

 3            testimony that she's not in fear of the father before

 4            the   Court    in November     2016.


 5                   THE COURT:      Why does i t matter whether she's in

 6            fear of you or not? Mr. Sakon, if you can't focus on

 7            your motion for contempt this is going to end very

 8            quickly.

 9                   MR.    SAKON:   Okay.

10   BY MR.   SAKON:


11      Q     Ms. Sevine, are you willing to enter into a parenting

12   plan with John Sakon at this time?

13      A     I   don't    know what that even means.         There are   orders


14   of the court in place. There was a very lengthy trial. There

15   was litigation for six years and now seven years.

16      Q     I just asked a question —

17      A     There is no parenting plan.

18      Q     Are you willing to do — enter into a parenting plan

19   with John Sakon at this time? Yes,              or no.

20                   THE COURT:      Mr.   Sakon that    is   irrelevant.


21            Whether she is or isn't,          there are court orders that

22            have to be      followed.

23                   MR.    SAKON:   Okay.

24   BY MR.   SAKON:


25      Q     Ms. Sevine, on February 8^^^,          I'm sorry. We dealt with

26   February 1®*^ where John Sakon tried to have a visitation

27   with the child by picking up the child at school. And you
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                                                                                              36



 1   testified that you picked up the child early. There —

 2                   ATTY. O'TOOLE:           Again,        Your Honor,       I   don't know

 3            if   this     is   relevant    to     the   —


 4                    THE COURT:        You got to let him finish the

 5            question.

 6                    ATTY. O'TOOLE:          Okay. Sure.

 7                    MR.    SAKON:     Okay.

 8   BY MR.   SAKON:


 9      Q     Did you on February 8,                2023,     the following Wednesday,

10   John Sakon alerted you that he was going to pick up the

11   child at the school with a supervised visitation —                              with a

12   supervisor. Is that correct?

13      A     I    don't    remember.


14      Q     You don't remember? Did you pick up the child at one

15   o'clock?


16                    ATTY. O'TOOLE:          Again,        Your Honor,       I don't why

17            this    is    relevant    to    the    —


18                    MR. SAKON:        Again,       i t ' s a visitation, picking up

19            the child with a supervisor. My offer of proof is

20            that she showed up at school at one o'clock,                           picked

21            up the child to frustrate the visitations.

22                    THE COURT:        The condition present to you having

23            supervised visit is you providing proof that you are

24            engaged with a clinician who can address narcissistic

25            personality disorder.               Did you do that?

26                    MR.    SAKON:     Your Honor,           I   did that.

27                    THE COURT:        And    is    that     Exhibit A?
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                                                                                      37



 1               MR.    SAKON:    Yeah.


 2               THE COURT:       The     Court    finds    that Exhibit A      is


 3          fully inadequate to meet the order that Judge Nguyen

 4          issued.


 5               MR.    SAKON:    Your Honor,        if I    —

 6               THE COURT:       It says you have requested

 7          psychotherapy not that you are engaged.

 8               MR.    SAKON:    Your     Honor    —


 9               THE COURT:       It doesn't say anything about Dr.

10          Lauerman ability to address narcissistic personality

11          disorder.


12               MR.    SAKON:    Your Honor,        I haven't put on my —

13               THE COURT:       The Court        finds    that   this   —   the


14          Court finds that this exhibit is wholly inadequate to

15          meet the requirements of Judge Nguyen set forth.                        The

16          motion for contempt is denied.

17               MR.    SAKON:    Your Honor, may I           have my closing

18          arguments at least. To put them on the record before

19          I bring you to federal court which I will do next

20          week for violation of Title II of the ADA.                    So if you

21          would allow me to put my —              my closing arguments on

22          the record.    I will do so because I will bring you to

23          federal court along with Judge Nguyen because you

24          guys are walking all over my constitutional rights.

25          So if you would like to argue this in federal court

26          before a jury,       I will do so.

27               THE COURT:        I've    been to      federal    court before.
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                                                                         38



 1            I've already ruled on your motion.

 2                  MR.   SAKON:   Your   Honor   —


 3                  THE COURT:     Stand in recess.


 4                  MARSHAL: All rise, please. This court is in

 5            recess. You may clear the courtroom.

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 HHD-FA16-6071228-S                         SUPERIOR COURT


 FRANCELIA SEVINE                           JUDICIAL   DISTRICT
                                            OF   HARTFORD


 V.                                         AT HARTFORD,    CONNECTICUT

 JOHN   A.   SAKON                          MAY 4,   2023




                          CERTIFICATION




             I hereby certify the foregoing pages are a true and

 correct transcription of the audio recording of the above-

 referenced case, heard in Superior Court, Judicial District of

 Hartford at Hartford, Connecticut, before the Honorable Robert

 Nastri Jr., Judge, on the 4^^^ day of May, 2023.




             Dated this 14'^'^ day of November 2023 in Hartford,

 Connecticut.




                                           lann^ Maldo^do-(pan3j
                                         Court ke'cording MoniTor Trainee
